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     Wednesday, December 11th, 2024, Thirty-Eight (38) Days Post Election Interference



  FORMAL REQUEST FOR A PRESIDENTIAL EXECUTIVE ORDER

   Prese ted to President Elect, The Forty-Seventh President of the United States of America



To the Honorable Donald John Trump,

       The attached Federal Criminal Complaint very briefly outlines the 'Ongoing
Federal Criminal Enterprise,' Federal Insurance Fraud Corruption Scheme created
by wholly Corrupt Obama, Biden, Holder, FDA/Hamburg Democrats, and brutally
enforced by Socialist Google. The Federal Criminal Conspiracy created by Obama
"De r Friend and FDA Appointee, Dr. Margaret Hamburg, was even questioned
by the London based Online Essential Journal, who globally inquired as to why the
FDA was providing criminal cover and refusal of enforcement to Sam's Club wet
wipe supplier, Rockline Industries.

     Oklahoma Senator Tom Coburn, who was a Pediatric Doctor before a
Senator, was infuriated at the child abuse and indifference to death Medical Fraud
Scam, both launched and criminally protected by disgustingly corrupt and brutally
cruel Democrats. Tom informed me that Dr. Hamburg shared a family connection
to the Founder of Rockline, a former NAZI, Ralph Rudolph, who fled WWII
Germany and founded Rockline through multiple acts of corporate espionage.

     My unfortunate involvement began while preparing to attend a fall 2006
European Book Tour of the then Virgin Megastores that showcased new Authors
to watch for. Instead of attending the tour, returning to the states, buying a new
home, and opening a publishing company, instead, I spent several months by my
toddler s side trying to save her life after being admitted to several children's
hospitals. Instead of telling the truth, Rockline NAZI thugs were screaming and
threatening employees into silence, until one brave soul, Sam Wilson, wrote to the
 FDA and that letter was leaked to the press. Then the Democrat corruption
 machine kicked into high gear. When I wrote to AG Eric Holder for expected
justice & prosecution, VP Biden was tasked to silence me no matter what had to be
 done, no matter how many sick, injured and dead children and senior citizens
needed to be concealed. There needs to probe to find and document all the FDA
National Safety Recall Victims that are supposed to be protected by Federal Law.

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       Once the Democrats were made aware that Google was already stealing and
republishing my Mars novel, Democrats hit on the perfect criminal suppression,
and personal/financial destruction machine, in then concealed, Military Contractor
Google. Google was not only a United States Government Contractor, but was
stealing phone data for the NSA as a spying contractor, as revealed years ago. This
now means, that when The Democratic National Party knowingly, maliciously, and
intentionally instructed a Military contractor who viciously concealed the military
and government status from a United States Federal District Court, this was by
default, the United States Government stealing Federally Protected Copyright from
a private citizen. The two (2) decade long series of Federal Crimes even led to the
harassment and intimidation murder of our only son, and should now be the subject
of a Congressional Oversight Hearing. This would indeed expose the devious
cover-up that the Department of Justice and an equally corrupt FBI deleted,
concealed, and extended criminal cover to child abusers and senior citizen killers,
and thus maliciously allowed Rockline to save money on expensive machine
cleaning and maintenance, out of sheer criminal corporate greed and federal
corruption. These are still current prosecutable crimes, since Rockline has
continued to inflict at least half a dozen known infection recalls up to present day.

     Therefore, as a United States Government Corruption Crime Victim, I
now formally & humbly request the implementation and execution of a
PRESIDENTIAL EXECUTIVE ORDER FOR FEDERAL CRIMINAL
RESTITUTION' Be Presented To The United States Treasury'

      Pursuant to the fact that a thief should not be allowed to place a value of an
item that the thief stole and greedily profiteered from, I now claim the total loss of
the entire fifty (50) years of my Federally Protected Copyright by the United States
Gove ment through NSA Spying Contractor Google. At $17.98 commission per
$24.95 purchase, at one million (1,000,000) purchases a year for fifty (50) years,
comes to a criminal financial loss through Democrat government corruption of
eight-hundred and ninety-nine million dollars $899,000,000.00. Furthermore, I
now request additional criminal sanctions for two (2) entire decades of malicious
career ending criminal behavior of $250,000,000.00. Google should be ordered to
reimburse the U.S. Treasury for the loss to the U.S. citizemy. Attached please find
the 'Full View' Federal Material Evidence Proof of the Google Theft and
Republishing of my Federally Protected Copyright and Intellectual Property that
Google lied, cheated, and schemed their way out of takin je al responsibility for.

Respectfully & Humbly Sub itted
                                                                   hew Avdeef
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                     reverend Father Mignon, Canon; an e learne from the said father here ...
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                     by Alfre de Vigny -1907
                     She had just sent forth her last breath in the public street, in the arms of the
                     reverend Father Mignon, canon: and we have learne fro the said father ...
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                     The Last Breath of Mars
                     by Stephen Av eef - Fiction - 2006 - 428 pa es
                     ... Last Breath... Mars...
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                     Princess of Mars - Paged08
                     by Burroughs. Edgar Rice - Fiction - 2004 - 256 pages
                     Dejah Thoris caught her breath at my last words, and gazed upon me with dilated

                     eyes and quickenin br ath, and then, ith an o tittle laugh,..
                     Limited review - About this book
                     [ More editions ]
                     T e King's Minion: Richelieu, Louis XIII, and the Affair of Cinq-Mars - Pa e 7
                     by Philippe Etlangei -1972 - 247 pages
                     New co panies had been adde to the Kin 's Guard, and Cinq-Mars as i en the
                     ... his Minister saying, "Be assure that I shall love you to my last breath. ...
                     Snippet iew - bout this book
                     | More e itions ]
                     Third Person Singular - Pa e 116
                     by K. J. Erickson - Fiction - 2002
                     The last ti e Mars spoke with Bobby, Bobby said he'd be in England for most of

                     the su mer and ... I ve already got one, he said under his breath to Mars, ...
                     Li ited revie - bout this book

       http://books.goo le.com/books?q=tlie+last+breatli+of+inars                                                 8/3/2007




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